
26 N.Y.2d 797 (1970)
The People of the State of New York, Respondent,
v.
Thomas Carrion Carlos, Appellant.
Court of Appeals of the State of New York.
Argued January 19, 1970.
Decided February 19, 1970.
Elliott L. Biskind for appellant.
Frank S. Hogan, District Attorney (Sybil H. Landau and Michael R. Juviler of counsel), for respondent.
Concur: Judges SCILEPPI, BERGAN, JASEN and GIBSON. Chief Judge FULD and Judges BURKE and BREITEL dissent and vote to reverse (see People v. Montgomery, 24 N Y 2d 130; People v. O'Bryan, 26 N Y 2d 95).
Order affirmed; no opinion.
